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FORM B9A (Chapter 7 Individual or Joint Debtor No Asset Case) (12/1/10)                                          Case Number 11−42350−EPK
                                    UNITED STATES BANKRUPTCY COURT
                                           Southern District of Florida
                                             www.flsb.uscourts.gov
       Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 11/22/11.
You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be accessed electronically via CM/ECF including at the public access terminals in every clerk's office.
NOTE: THE STAFF OF THE BANKRUPTCY CLERK'S OFFICE CANNOT GIVE LEGAL ADVICE.
            ** See Reverse Side For Important Explanations and SDFL Local Court Requirements. **
Debtor(s) name(s) and address(es) (for names include married, maiden and trade used by the debtor(s) in the last 8 years):
Ronald D Eckland
1740 Corsica Dr
Wellington, FL 33414
Case Number:                                                            Last four digits of Social−Security or Individual Taxpayer−ID
11−42350−EPK                                                            (ITIN) No(s)./Complete EIN: xxx−xx−4563
Attorney for Debtor(s) (or Pro Se Debtor) name and address:             Bankruptcy Trustee (name and address):
Richard B. Carey                                                        Robert C Furr
801 Northpoint Pkwy. # 7                                                www.furrtrustee.com
West Palm Beach, FL 33407                                               2255 Glades Road Ste 337W
Telephone number: (561) 247−1266                                        Boca Raton, FL 33431
                                                                        Telephone number: 561−395−1840

                             MEETING OF CREDITORS
Date: December 30, 2011                     Time: 08:30 AM
Location: Flagler Waterview Bldg, 1515 N Flagler Dr Rm 870, West Palm Beach, FL 33401
 Note: Debtors must bring original government−issued photo identification and proof of the social security number (or if applicable
Tax ID) to this meeting.
 WARNING TO DEBTOR: Without further notice or hearing the court may dismiss your case for failure to timely pay filing fee
installments, failure to appear at the meeting of creditors or failure to timely file required schedules, statements or lists, and for
failure to file pre−bankruptcy certification of credit counseling or file wage documentation.

                                  Presumption of Abuse under 11 U.S.C. § 707(b)
                                                 See "Presumption of Abuse" on reverse side.
The presumption of abuse does not arise.

                                                               Deadlines:
                Documents submitted for filing must be received by the bankruptcy clerk's office by the following deadlines:

                 Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 2/28/12
                           Deadline to Object to Trustee's Report of Abandonment: See explanation on reverse.
                                                     Deadline to Object to Exemptions:
 30 days after the conclusion of the meeting of creditors or within 30 days of any amendment to the list or supplemental schedules, unless as
                                  otherwise provided under Bankruptcy Rule 1019(2)(B) for converted cases.

                                      Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

             Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                                Creditor with a Foreign Address
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
on the reverse side.
Address of the bankruptcy clerk's office where assigned judge is
chambered:
Flagler Waterview Bldg
1515 N Flagler Dr #801
West Palm Beach FL 33401
Telephone: 561−514−4100
Hours Open: Monday − Friday 9:00 AM − 4:30 PM                           Clerk of the Bankruptcy Court: Katherine Gould Feldman
Closed all Legal Holidays                                               For: Judge Erik P. Kimball
                                                                        Date: 11/23/11
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                                                          EXPLANATIONS                                                      FORM B9A (12/1/10)

Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side (or the existing case under another chapter has been converted to
                         chapter 7).
Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.
Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.
Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present with required original government−issued photo identification and proof of the
                         social security number (or, if applicable, Tax ID) at the meeting to be questioned under oath by the trustee and by
                         creditors. Creditors are welcome to attend, but are not required to do so. The meeting may be continued and
                         concluded at a later date without further notice. As mandated by the Department of Homeland Security, ALL
                         visitors (except minors accompanied by an adult) to any federal building or courthouse, must present a current,
                         valid, government issued photo identification (e.g., drivers license, state identification card, passport, or immigration
                         card).
Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this case
                       is converted from chapter 13, pursuant to Local Rules 1019−1(E) and 3002−1(A), it has been designated as a no
                       asset case at this time. If this notice is mailed to a creditor at a foreign address, the creditor may file a motion
                       requesting the court to extend the deadline.
Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must start a lawsuit by filing a complaint −− or file a motion if you assert the discharge should be denied
                         under §727(a)(8) or (a)(9) −− by the "Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of
                         Certain Debts" listed on the front side of this form. The bankruptcy clerk's office must receive the complaint or
                         motion and the required filing fee by that deadline. Writing a letter to the court or judge is not sufficient. The
                         discharge will not be issued until the Official Bankruptcy Form "Debtor's Certification of Completion of
                         Postpetition Instructional Course Concerning Personal Financial Management" is filed by the debtor.
Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. If you believe that an exemption claimed
                         by the debtor is not authorized by law, you may file an objection to that exemption. The bankruptcy clerk's office
                         must receive the objections by the "Deadline to Object to Exemptions" listed on the front side.
Bankruptcy Clerk's       Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location. Documents may be
Office                   viewed in electronic format at any clerk's office public terminal (at no charge for viewing ) or via PACER ON THE
                         INTERNET (charges apply). Case filing information and unexpired deadline dates can be obtained by calling the
                         Voice Case Information System: (305)536−5979 or (800)473−0226.
Creditor with a          Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address          case.
Abandonment of           Pursuant to Local Rule 6007−1(A), the trustee will abandon at the meeting of creditors all property that the trustee
Property by Trustee      has determined is of no value to the estate and file a report within 2 business days. Objections to the report must be
                         filed within 14 days of the meeting.
Electronic Bankruptcy Parties can now choose to receive all notices (including attachments) served by the clerk's office electronically
Noticing              instead of via US mail. For information on or to register for this free service, contact the Bankruptcy Noticing
                      Center at ebn.uscourts.gov
Translating Services     Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
                         trustee, through a telephone interpreter service. Persons with communications disabilities should contact the U.S.
                         Trustee's office to arrange for translating services at the meeting of creditors.
                         −− Refer to Other Side for Important Deadlines and Notices −−
